GEORGIA M. PESTANA                               THE CITY OF NEW YORK                                            DARA L. WEISS
Corporation Counsel                                                                                                 Senior Counsel
                                                  LAW DEPARTMENT                                              daweiss@law.nyc.gov
                                                   100 CHURCH STREET                                         Phone: (212) 356-3517
                                                                                                               Fax: (212) 356-1148
                                                NEW YORK , NEW YORK 10007




        By ECF                                                                               February 10, 2022
        Honorable Gabriel W. Gorenstein
        United States Magistrate Judge
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, New York 10007

                In Re: New York City Policing During Summer 2020 Demonstrations,
                       No. 20 Civ. 8924 (CM) (GWG)
                       This filing is related to all cases

        Your Honor:

                I am a Senior Counsel in the Office of Georgia M. Pestana, Corporation Counsel of the City of
        New York and I am among counsel for the defense in the above-referenced matter. I write in accordance
        with Rule 2.A of the Court’s Individual Rules in response to plaintiff’s February 8, 2022 letter to the Court.
        (Dkt # 373).

                 The parties have conferred, and have come to an agreement that defendants will provide document
        responses and documents in two weeks, and that will be a court-ordered date. A privilege log, to the extent
        one is required, will be produced withing three days after that date.

                As such, plaintiffs’ motion is now moot.

                Thank you for your consideration herein.



                                                                   Respectfully submitted,

                                                                   Dara L. Weiss s/

                                                                   Dara Weiss
                                                                   Senior Counsel
                                                                   Special Federal Litigation Division




        cc:     ALL COUNSEL (via ECF only)
